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  20   Additional counsel on next page

  21
                              UNITED STATES DISTRICT COURT
  22
                            CENTRAL DISTRICT OF CALIFORNIA
  23
       JENNY LISETTE FLORES; et al.,          Case No. CV 85-4544-DMG
  24
                    Plaintiffs,               PLAINTIFF-INTERVENORS’
  25                                          NOTICE OF WITHDRAWAL OF
             v.                               MOTION TO INTERVENE AS
  26                                          PLAINTIFFS [DKT. 441] AND
       JEFFERSON B. SESSIONS III,             MOTION TO PROCEED USING
  27   ATTORNEY GENERAL OF THE                PSEUDONYMS [DKT. 442]
       UNITED STATES; KIRSTJEN
  28   NIELSEN, SECRETARY OF

                  PLAINTIFF-INTERVENORS’ NOTICE OF WITHDRAWAL OF MOTIONS
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   1   HOMELAND SECURITY; U.S.
       DEPARTMENT OF HOMELAND
   2   SECURITY, AND ITS SUBORDINATE
       ENTITIES; U.S. IMMIGRATION AND
   3   CUSTOMS ENFORCEMENT; U.S.                       Date: July 27, 2018
       CUSTOMS AND BORDER
   4   PROTECTION,                                     Time: 9:30 a.m.
   5                Defendants.                        Judge: Hon. Dolly M. Gee
   6                                                   Courtroom: 8C, Los Angeles
                                                       Courthouse
   7
       Ms. J.P., Ms. J.O., Ms. R.M., and DOES 1-
   8   10,
   9                Plaintiff-Intervenors.
  10
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   6
       ** Institution listed for identification purposes only
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   1   TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE that, pursuant to Local Civil Rule 7-16, Ms. J.P., Ms.
   3   J.O., Ms. R.M., and DOES 1-10 (collectively “Plaintiff-Intervenors”), by and through
   4   their attorneys, hereby withdraw without prejudice their Motion to Intervene as
   5   Plaintiffs (ECF Docket No. 441) and Motion to Proceed Using Pseudonyms (ECF
   6   Docket No. 442), filed on June 25, 2018, in the above-captioned matter.
   7         In light of recent events, including the Honorable Dana M. Sabraw’s Order
   8   Granting Plaintiffs’ Motion for Classwide Preliminary Injunction in the action titled
   9   Ms. L v. U.S. Immigration and Customs Enforcement, No. 18-428 (S.D. Cal. June 26,
  10   2018), which, among other things, preliminarily enjoins defendants from detaining
  11   class members in DHS custody without and apart from their minor children and orders
  12   reunification of all class members with their minor children, Plaintiff-Intervenors have
  13   decided to withdraw their motions so that they may revise their [Proposed] Complaint
  14   in Intervention, lodged concurrently with their Motion to Intervene as Plaintiffs.
  15         Ms. J.P., Ms. J.O., and Ms. R.M. intend to file a revised complaint next week.
  16         Plaintiffs and Defendants have not yet filed responses to the motions, and the
  17   Court has not yet acted on them. The withdrawal of Plaintiff-Intervenors’ motions
  18   obviates the need for hearing on these matters at this time, previously scheduled for
  19   July 27, 2018, and August 3, 2018, at 9:30 a.m. in Courtroom 8C of the above-entitled
  20   court, located at 350 West 1st Street, Los Angeles, California 90012.
  21   Dated: July 6, 2018                           Respectfully Submitted,
  22                                                 /s/ Amy P. Lally
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  26
                                                     Attorney for Plaintiff-Intervenors
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                 PLAINTIFF-INTERVENORS’ NOTICE OF WITHDRAWAL OF MOTIONS
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   1                              CERTIFICATE OF SERVICE
   2
   3          I hereby certify that on July 6, 2018, I electronically filed the foregoing
   4   document with the Clerk for the United States District Court for the Central District of
   5   California by using the CM/ECF system. A true and correct copy of this brief has
   6   been served via the Court’s CM/ECF system on all counsel of record.
   7
                                                     /s/ Amy P. Lally
   8                                                 Amy P. Lally (CABN 198555)
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                PLAINTIFF-INTERVENORS’ NOTICE OF WITHDRAWAL OF MOTIONS
